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                       Exhibit K
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                                                                                                       40008817



                             UNITED STATES DISTRICT COURT
                                                                                                 Sep 23 2011
                             EASTERN DISTRICT OF LOUISIANA                                         7:24PM




   IN RE: OIL SPILL by the OIL RIG                 *
   “DEEPWATER HORIZON” in the                      *
   GULF OF MEXICO, on                              *
   APRIL 20, 2010                                  *
                                                   *     MDL NO. 2179
   HOI NGUYEN,                                     *
         Plaintiff,                                *     SECTION: J
                                                   *
   vs.                                             *
                                                   *     JUDGE BARBIER
   BP AMERICA PRODUCTION CO.,                      *
         Defendant.                                *
                                                   *
         Relates to: 10-8888 Doc. Ref. No. 63576   *
                                                   *
                        And                        *
                                                   *
   VESSEL OF OPPORTUNITY (VOO) CONTRACT DISPUTES *
                                                   *
   **************************************************************************

                PLAINTIFF HOI NGUYEN’S RESPONSES TO DEFENDANT
                BP AMERICA PRODUCTION COMPANY’S FIRST SET OF
                 INTERROGATORIES PROPOUNDED TO HOI NGUYEN


          Plaintiff Hoi Nguyen responds to BP’s First Set of Interrogatories as follows:

                                       GENERAL OBJECTIONS

          1. Plaintiff objects to the interrogatories to the extent they are not directly related to
   the Vessels of Opportunity Case Management Orders [Doc. Nos. 3207, 4062].

          2. Plaintiff objects to the interrogatories to the extent that they are vague, overbroad,
   unduly burdensome, and/or not reasonably calculated to lead to the discovery of admissible
   evidence.

           3. Plaintiff objects to the interrogatories to the extent that BP has equal or greater
   access to the documents or other information requested, than does Plaintiff.

           4. Plaintiff objects to the interrogatories seeking to establish (or discover) second-
   hand, legal, technical and/or scientific knowledge, opinions, theories and/or conclusions – as
   opposed to facts.

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          5. Plaintiff objects to the interrogatories to the extent they seek documents or other
   information protected by the Attorney-Client Privilege and/or Work Product Doctrine,
   including the Joint-Prosecution and/or Common-Interest Privilege. 1

           6. Plaintiff objects to the interrogatories relating to Defendants’ own documents (or
   other information) as beyond the scope of legitimate and permissible discovery, because they
   do not seek to “discover” documents or information, but only to determine what documents
   or information plaintiff has discovered or obtained or deems to be relevant. Because the
   second-hand knowledge of the plaintiff and/or his attorneys is not relevant nor reasonably
   calculated to lead to admissible evidence, it is: (i) protected as Work product; 2 (ii) unduly
   burdensome to request the plaintiff and/or his counsel to conduct the same type of review and
   analysis that could be as easily conducted by Defendants and/or their counsel; and (iii)
   beyond the scope and objectives of legitimate discovery. 3

          7. Plaintiff objects to the interrogatories to the extent they seek information which
   would not be admissible under Federal Rule of Evidence 408.

           8. Plaintiff reserves all objections as to admissibility of written responses and/or
   documents until such time as they are sought to be introduced into evidence and/or otherwise
   used in these proceedings.




          1
               See generally, FED. RULE EVID. 502; FED. R. CIV. PRO. 26(b)(3); FED. R. CIV. PRO.
   26(b)(4).
          2
            See Gould v. Mitsui Mining & Smelting, 825 F.2d 676, 680 (2nd Cir. 1987);
   Shelton v. American Motors, 805 F.2d 1323, 1328-1329 (8th Cir. 1986); Sporck v. Peil, 759
   F.2d 312, 316 (3rd Cir. 1985); James Julian v. Raytheon, 93 F.R.D. 138, 144 (D.Del. 1982);
   Smith v. Florida Power & Light, 632 So.2d 696 (Fla. App. 3rd Dist. 1994).
          3
             See, e.g., Smith v. BIC Corp., 121 F.R.D. 235, 244-245 (E.D.Pa. 1988), rev’d, in
   part BIC v. Smith, 869 F.2d 194 (3rd Cir. 1989). In the relevant portion of Smith, the U.S.
   Third Circuit denied BIC the production of information “since they were allegedly internal
   documents from BIC – the documents were already in their possession.” 869 F.2d at 197
   (emphasis supplied). At the same time, BIC sought a protective order to prohibit the plaintiff
   from disseminating trade secret information, regarding the design, safety and quality tests of
   the product, and to limit discovery of other accident or claims information. This part of the
   trial court’s ruling was reversed, in part, by the Third Circuit, which granted BIC a protective
   order with respect to its trade secrets, but affirmed the trial court’s ruling compelling BIC to
   produce information regarding other injuries or claims. See BIC v. Smith, 869 F.2d at 201-
   202.

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                                     RESERVATION OF RIGHTS

          Plaintiffs respectfully reserve the right to supplement and amend these discovery
   responses as formal expert reports are finalized and served, and as other facts or information
   come to light through discovery or is otherwise uncovered or developed.

   GENERAL RESPONSE TO ALL INTERROGATORIES:

            Subject to, and without waiving the General Objections and Reservation of Rights,

   Plaintiff respectfully incorporates by reference in response to all of the interrogatories the

   following:

            VOO FOCUS PLAINTIFFS PARTIAL MOTION FOR SUMMARY JUDGMENT [Doc. No.
   4035].



                                      INTERROGATORIES

   INTERROGATORY NO. 1:

          Please state precisely and separately each legal claim that you are making against
   each defendant regarding your participation in the VoO Program and, further, describe in
   detail the factual basis underlying each claim.

   RESPONSE:

            Subject to, and without waiving the General Objections and Reservation of Rights,

   Plaintiff respectfully responds as follows:

   Plaintiff Hoi Nguyen responds that his legal claims against BP, and the factual basis

   underlying the claims, are set out in the Motion for Partial Summary Judgment, [Doc. No.

   4035] and supporting documents filed with that motion. The contents of the motion and

   those documents are incorporated by reference.

   INTERROGATORY NO. 2:

         Please describe in detail the amount of damages that you are claiming in these
   proceedings, provide an itemized computation of each source of damages that you are
   claiming, and identify all documents that support your claimed damages.


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   RESPONSE:

          Subject to, and without waiving the General Objections and Reservation of Rights,

   Plaintiff respectfully responds as follows:

   The total charter hire owed is $277,400.

   The Charter Term under the BP Mater Vessel Charter Agreement (“MVCA”) began on May

   14, 2010, and ended with the My Angel II’s return to its moorings after final decontamination

   on September 17, 2010.

   BP paid the charter hire for the training on or about May 14, and for May 31, 2010 through

   July 20, 2010. This payment for the training and daily hire was a total of $208,340.

   BP did not pay anything for May 15 through May 30, 2010. The charter hire for this period

   is the vessel hire and 4 crew members working an eight hour day, or $3,800 per day. The

   total not paid for this period is $57,000.

   In October 2010, BP paid another $34,200. This is 9 days of the vessel hire rate with four

   crew members working an 8 hour day. In March 2011, BP paid another $7,600. This is two

   days of the vessel hire rate with four crew members working an 8 hour day.

   For the period from July 21 through September 17, BP paid the charter hire for 11 days.

   There were 58 days in this period.

   The documents that support these damages are the following:

   (1) BP Charter Agreement dated May 12, 2010

   (2) Records of training attended by the My Angel II and crew

   (3) Records of payment by BP, which presumably BP has available

   (4) Verification of Final Decontamination, September 16, 2010

   (5) BP Off Hire Notification Letter, indicating off hire date of August 27, 2010



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   INTERROGATORY NO. 3:

          Please identify with specificity the individual period or periods that you contend that
   your VoO Vessel was subject to charter under the Master Vessel Charter Agreement and,
   further, describe in detail the factual basis underlying your contention and identify all
   documents that support your contention.

   RESPONSE:

           Subject to, and without waiving the General Objections and Reservation of Rights,

   Plaintiff respectfully responds as follows:

   Please see response to Interrogatory No. 2.

   INTERROGATORY NO. 4:

         Please describe in detail all maintenance, modifications, additions, repairs,
   replacements, or improvements (collectively, "improvements") made to the VoO Vessel
   since April 20, 2010. For each of the improvements, please identify the cause or activity
   that made the improvement necessary, the approximate date the improvement was
   completed, who performed the improvement, and the detailed cost of the improvement.

   RESPONSE:

           Subject to, and without waiving the General Objections and Reservation of Rights,

   Plaintiff respectfully responds as follows:

   None.

   INTERROGATORY NO. 5:

          Please state whether, since April 20, 2010, the VoO Vessel was used for any
   activity other than VoO Activity. If so, for each occasion that the VoO Vessel was used
   for such an activity, please identify the nature of the activity, the entity or person hiring
   the VoO Vessel to perform the activity (if applicable), the compensation for the activity (if
   applicable), the dates the activity was performed, the location that the VoO Vessel
   performed the activity, the employer of the vessel's crew during the activity, and all
   documents associated with the activity (e.g., catch reports, fuel tickets, etc.).

   RESPONSE:

           Subject to, and without waiving the General Objections and Reservation of Rights,

   Plaintiff respectfully responds as follows:


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   The My Angel II did not do anything else during the charter term.

   INTERROGATORY NO. 6:

         Please identify all sources of income (including unemployment compensation and
   any other loss of income payments received from BP or any other source) that you have
   received since April 20, 2010.

   RESPONSE:

          Subject to, and without waiving the General Objections and Reservation of Rights,

   Plaintiff respectfully responds as follows:

   Mr. Nguyen did not have any sources of income during the term of the MVCA other than the

   incomplete payments he received pursuant to the MCVA.

   INTERROGATORY NO. 7:

           Will you voluntarily permit BP to inspect your 2010 State and Federal tax returns?
   If so, please sign the authorization forms that accompany these interrogatories and return
   them to counsel for defendant along with your answers to these interrogatories.

   RESPONSE:

          Subject to, and without waiving the General Objections and Reservation of Rights,

   Plaintiff respectfully responds as follows:

   Previously, in response to the request of defendant, Mr. Nguyen submitted all 1099(s)

   received for payment by defendant and/or agents and representatives of defendant during

   2010 pursuant to the MVCA. Plaintiff had no other 1099(s) during the time period of the

   MVCA.

   INTERROGATORY NO. 8:

          Please identify each date on which the VoO Vessel performed VoO Activities and
   describe in detail the VoO Activities that the VoO Vessel performed on each of those
   dates and the location of such VoO Activities. Please also state the length of time
   undertaken for each such VoO Activity.




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   RESPONSE:

          Subject to, and without waiving the General Objections and Reservation of Rights,

   Plaintiff respectfully responds as follows:

   Please see Response to Interrogatory No. 2, in addition to the information below:

   May 14, 2011 – Training, Jeff Davis Community College Campus, Biloxi MS

   May 15-30, 2011 – Stand by, Biloxi, MS

   May 31, 2010 – proceeded to 2924.0°N, 8801.0°W

   June 1, 2010 – proceeded Mobile dock

   June 2-4, 2010 – standby Mobile dock

   June 5, 2010 – proceeded Mobile Bay to Destin

   June 6, 2010 – proceeded Destin to Pensacola

   June 7, 2010 – standby Pensacola

   June 8, 2010 – proceeded Pensacola to Destin

   June 9, 2010 – pull boom, Pensacola

   June 10, 2010 – pull boom, Pensacola

   June 11, 2010 – proceeded 2954.0° - 3009.0°N, 8838.0° - 8720.0°W

   June 12, 2010 – get boom, 3009.0°N, 8717.0°W

   June 13, 2010 – standby, on site Safety training and getting supplies

   June 14, 2010 – pull boom, 3010.0°N, 8719.0°W

   June 15, 2010 – standby, testing for oil

   June 16, 2010 – standby, getting supplies

   June 17, 2010 – looking for oil, Pensacola

   June 18, 2010 – looking for oil, Pensacola



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   June 19, 2010 – standby Pensacola

   June 20, 2010 – looking for oil, Pensacola

   June 21, 2010 – proceeded Biloxi (home)

   June 22, 2010 – standby, repair generator

   June 23, 2010 – proceeded 3015.0°N, 8804.0°W

   June 24, 2010 – proceeded Mobile Bay to Pensacola

   June 25, 2010 – standby, get boom

   June 26, 2010 – Pensacola followed the vessel Sea Performer

   June 27, 2010 – proceeded Pensacola to Mobile Bay

   June 28, 2010 – standby Mobile Bay

   June 29, 2010 – repair alarm at Bayou LaBatre

   June 30, 2010 – proceeded Mobile to Biloxi

   July 1-6, 2010 – standby Point Cadet, Biloxi

   July 7, 2010 – 40-hour training

   July 8, 2010 – 40-hour training

   July 9, 2010 – 40-hour training

   July 10, 2010 – proceeded 2900.0°N, 8759.0°W, 4,800 ft water near the Horizon Oil Rig

   July 11, 2010 – proceeded 6500 ft. water near the Horizon Oil Rig

   July 12-15, 2010 – standby Mobile Bay

   July 16, 2010 – gross decontamination and return to Biloxi

   July 17, 2010 through September 15, 2010 – Stand by awaiting instructions per the terms

   of the BP Charter Agreement, Biloxi MS

   September 15, 2010 through September 16, 2010 – En route from Biloxi MS to Bayou La



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    Batre, AL

    September 16, 2010 – Receiving final decontamination in Bayou La Batre, AL

    September 17, 2010, return from Bayou La Batre to Biloxi, MS

    INTERROGATORY NO. 9:

          Please identify all dates on which the VoO Vessel performed VoO Activities for
    which you claim that you were not adequately compensated under the Master Vessel
    Charter Agreement and the location of such VoO Activities. Please also state the length
    of time undertaken for each such VoO Activity.

    RESPONSE:

           Subject to, and without waiving the General Objections and Reservation of Rights,

    Plaintiff respectfully responds as follows:

    Please see the Responses to Interrogatory Nos. 2 and 8. In further response, the My

    Angel II was under charter 24 hours per day. As far as the exact amount of time looking

    for oil, or pulling boom or on standby for instructions, I do not have the specific

    breakdown of this information.

    INTERROGATORY NO. 10:

          Are you are alleging that your VoO Vessel came into contact with oil or other
    contaminant while performing VoO Activities? If so, please identify the contaminant with
    which the VoO Vessel came into contact, each date on which you contend the VoO
    Vessel came into contact with oil or other contaminant, the parts of the VoO Vessel that
    contacted the oil or other contaminant, and describe the VoO Activity in which the VoO
    Vessel was participating and the location of such activity on the dates you contend the
    VoO Vessel came into contact with oil or other contaminant.

    RESPONSE:

           Subject to, and without waiving the General Objections and Reservation of Rights,

    Plaintiff respectfully responds as follows:

    Yes. The My Angel II was in heavy floating oil while it was working pulling boom. The

    days we were pulling boom are in the log and in the answer to Interrogatory No. 8.


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    While looking for oil we also came in to contact with oil. I do not know the specific days

    when we were looking for oil that we came into contact with oil. There was oil on the

    ropes, anchor line, deck and hull of the boat.

    INTERROGATORY NO. 11:

         Please identify in detail every reason that you contend it was necessary for the
    VoO Vessel to receive decontamination.

    RESPONSE:

           Subject to, and without waiving the General Objections and Reservation of Rights,

    Plaintiff respectfully responds as follows:

    The My Angel II still had oil on the hull in September, 2010. The ropes had oil on them

    too. They had the My Angel II on the list for decontamination, and I went with the group

    they told me to go with. The Coast Guard asked me to cut off the anchor line and the

    ropes and to put them in the bags and threw it away because it had oil on it.

    INTERROGATORY NO. 12:

          Please identify each instance in which you discussed decontamination for the VoO
    Vessel, including identifying the date of any such communication and the identity or a
    description of the person with whom you discussed the decontamination for the VoO
    Vessel.

    RESPONSE:

           Subject to, and without waiving the General Objections and Reservation of Rights,

    Plaintiff respectfully responds as follows:

    About the 15th of July 2010, a lady who spoke Vietnamese called me and said I should

    get my boat cleaned. She gave me a VHF channel and a boat name to call. There were

    boats waiting to be cleaned on July 16 near the Dauphin Island bridge, and they called us

    on the VHF when it was our turn. I spoke to the people on the barge doing the cleaning



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    but I do not know who they were and they did not give me their names.

    In early September Ri Nguyen called me and told me the My Angel II was on a list at

    Point Cadet in Biloxi to be decontaminated. He said to call a person named Devon who

    would know about this. I called and Devon said that I was in a group to be

    decontaminated on September 16, 2010. I went to Bayou La Batre that day and they

    called us on the VHF when it was time for us to be decontaminated. I spoke to the people

    there who came on the boat but I do not know who they were and they did not give me

    their names. The Coast Guard was there and they told me to cut off the ropes with oil on

    them, put them in a bag and throw them away.

    INTERROGATORY NO. 13:

          Please identify and state in detail all reasons that the VoO Vessel was not
    decontaminated immediately after completion of VoO Activities.

    RESPONSE:

           Subject to, and without waiving the General Objections and Reservation of Rights,

    Plaintiff respectfully responds as follows:

    I think the My Angel II was decontaminated immediately after it finished the charter. I

    got the instruction about when to go as soon as I got the letter saying I was off hire and

    then I went with the group they told me to accompany.

    INTERROGATORY NO. 14:

         Please identify all persons who have knowledge related to the claims that you are
    making in these proceedings, including a description of the type and basis of their
    knowledge.

    RESPONSE:

           Subject to, and without waiving the General Objections and Reservation of Rights,

    Plaintiff respectfully responds as follows:


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    Ri Nguyen
    f/v: Independent
    20204 Belle Vue Circle
    D’Iberville, MS 39540
    (228) 243-9877

    Son Vu
    f/v: Lady Tiffany
    (228) 348-2980

    Devan Phan
    1236 Herron Lake Circle
    Mobile, AL 36695
    (251) 586-2656

    Crew members:

    Nam Van Tran
    369 Cedar Drive
    D’Iberville, MS 39540
    (228) 323-3777

    Duc Ngoc Nguyen
    6577 Cortez Circle
    Ocean Springs, MS 39564
    (228) 343-2980

    Thanh Tam Nguyen
    3074 Big Ridge Road, Apt. #4
    Biloxi, MS 39540
    (228) 313-0748

    Nhiem Vo
    (228) 257-8399

    Ha Nguyen
    (225) 371-0873

    INTERROGATORY NO. 15:

            Please identify all fact or expert witnesses whom you expect to call in any arbitration
    or trial regarding your participation in the VoO Program, including a description of their
    background and the facts known by each witness.




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    RESPONSE:

           Subject to, and without waiving the General Objections and Reservation of Rights,

    Plaintiff respectfully responds as follows:

    At this time, Mr. Nguyen does not know who he intends to call as a witness in any

    arbitration or trial regarding his participation in the VoO Program and/or the alleged

    breach of the subject charter agreement in question or what the expected testimony of

    each witness may provide in support of his claims. In further response, plaintiff refers to

    his responses to the interrogatories.

              Dated: September 23, 2011

    Respectfully submitted,



    /s/ Robert Wiygul                             /s/ Joel Waltzer_________________
    Robert Wiygul (LA #17411)                     Joel Waltzer (LA #19268)
    1011 Iberville Drive                          3715 Westbank Expressway, Ste. 13
    Ocean Springs, MS 39564                       Harvey, LA 70058
    Office: (228) 872-1125                        Office: (504) 340-6300
    Fax: (228) 872-1128                           Fax: (504) 340-6330
    robert@waltzerlaw.com                         joel@waltzerlaw.com


    Of Counsel:
    ROBIN L. GREENWALD
    JAMES C. KLICK
    PLAINTIFFS’ STEERING COMMITTEE



                                   CERTIFICATE OF SERVICE

            WE HEREBY CERTIFY that the above and foregoing Discovery Responses will be
    served on All Counsel via Lexis-Nexis File & Serve, pursuant to PRE-TRIAL ORDER NO. 12,
    this 23rd day of September, 2011.


                                                   Stephen J. Herman and James Parkerson Roy
                                                         Plaintiffs’ Liaison Counsel
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